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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
VERONICA URBINA, No. 2:20-cv-09253-ODW-E
Plaintiff, JUDGMENT OF REMAND

V.

KILOLO KIJAKAZI Acting
Commissioner of Social Security,

Defendant.

 

The Court having approved the parties’ Stipulation to Voluntary Remand
Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation
of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
captioned action is remanded to the Commissioner of Social Security for further

proceedings consistent with the Stipulation of Remand.

Date: September 22, 2021 Ve .
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